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8
     BAYSTONE MEDIA, INC.

9
                              UNITED STATES DISTRICT COURT
10
                           SOUTHERN DISTRICT OF CALIFORNIA
11

12                                            Case No.: 10-CV-1828- DMS (CAB)
     INTERNET MATRIX, INC., a
13   California corporation,
14                                            ORDER TO DISMISS ACTION
                         Plaintiff,           WITH PREJUDICE
15

16
                  v.

17   BAYSTONE MEDIA, INC., a New
18
     York corporation,

19                       Defendant.
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                                                                  ACTION WITH PREJUDICE
 Case 3:10-cv-01828-DMS-CAB Document 27 Filed 01/27/11 PageID.106 Page 2 of 2



1                                              ORDER
2

3          WHEREAS, Plaintiff and Defendant have settled their disputes and each party
4    has agreed to be responsible for its own legal costs and attorneys’ fees incurred in
5    connection with or in any way arising from this action, subject to terms of the parties’
6    settlement agreement;
7          WHEREAS, Plaintiff and Defendant executed a Stipulation of Dismissal with
8    Prejudice, which was filed with the Court on December 27, 2010.
9

10         IT IS HEREBY ORDERED:
11         The action, including any claims or counterclaims asserted therein, is hereby
12   dismissed, in its entirety, with prejudice.
13

14

15   Date: January 27, 2011                   By: ________________________________
                                                     _______
                                                          ___________
                                                                    _____
                                                                    __ _______
                                                                            _________
                                                      The
                                                      The Honorable
                                                           Honorabble Dana M.
                                                                            M Sabraw
                                                                                Sabbraw
16                                                 Judge of the United States District Court
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